                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                               DOCKET NO. 3:95-CR-5-FDW


 UNITED STATES OF AMERICA,                      )
                                                )
        vs.                                     )
                                                )
 JACKIE MCKUBBIN,                               )                   ORDER
                                                )
               Defendant.                       )
                                                )

       THIS MATTER is before the Court on Defendant’s pro se motion ( Doc # 834) for

“further reduction” of her sentence pursuant to 18 U.S.C. § 3582(c)(2) and the new crack cocaine

sentencing guidelines. Defendant’s motions are DENIED for the reasons stated in the Presentence

Investigation Reports and Court’s prior Order (Doc. Nos. 825, 826 & 827).

       IT IS SO ORDERED.

                                               Signed: October 7, 2009




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